       Case 3:21-cr-03101-JLS Document 81 Filed 12/07/22 PageID.432 Page 1 of 6



 1
 2
 3
 4
 5
 6
 7
 8                          UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                          Case No.: 21-CR-3101 JLS
12                                     Plaintiff,
                                                        ORDER AFFIRMING
13   v.                                                 MAGISTRATE JUDGE’S ORDER
                                                        DENYING MOTION TO AMEND
14   JOHN FENCL,
                                                        CONDITIONS OF PRETRIAL
15                                  Defendant.          RELEASE
16
                                                        (ECF No. 73)
17
18         Presently before the Court is Defendant John Fencl’s Motion for Review of
19   Magistrate Judge’s Order Denying Motion to Amend Conditions of Pretrial Release
20   (“Mot.,” ECF No. 73). The Government filed a Response in Opposition (“Opp’n,” ECF
21   No. 79) and Defendant submitted a Reply in Support (“Reply,” ECF No. 80) thereof.
22   Having considered the Parties’ arguments and the law, the Court will AFFIRM the
23   Magistrate Judge’s Order.
24                                      BACKGROUND
25         In September 2019, officers arrested Defendant for illegally possessing a concealed
26   gun without a license. ECF No. 1 at 3. He pled guilty to a misdemeanor firearm offense
27   and was sentenced to two years of probation, which included a firearms possession
28   prohibition as well as a Fourth Amendment Waiver. Id. In June 2021, detectives with the

                                                    1
                                                                                   21-CR-3101 JLS
       Case 3:21-cr-03101-JLS Document 81 Filed 12/07/22 PageID.433 Page 2 of 6



 1   El Cajon Police Department conducted a search of Defendant’s residence pursuant to the
 2   Fourth Amendment Waiver. Id. During the search, detectives located more than one
 3   hundred firearms, including 10 ghost guns, four silencers, three short-barreled rifles, and
 4   21 other guns that are illegal under state law. ECF No. 57-4 at 4. Defendant was ultimately
 5   charged with illegally possessing three unlicensed short-barreled rifles and four unlicensed
 6   silencers in violation of 26 U.S.C. §§ 5861(d), 5871. ECF No. 53. Following a hearing,
 7   Magistrate Judge William Gallo ordered Defendant’s release on bond, subject to various
 8   conditions. ECF No. 12. One of those conditions was Standard Condition 4, which bars
 9   him from possessing or attempting to possess a firearm, destructive device, or other
10   dangerous weapon and ordered him to legally transfer all firearms as directed by Pretrial
11   Services. Id. Magistrate Judge Gallo amended the condition to also prohibit Defendant
12   from possessing any gun parts. See id.
13          Defendant filed a motion to modify his conditions of pretrial release to remove
14   Standard Condition 4. See generally ECF No. 64. Defendant argued that under the
15   Supreme Court’s recent decision in New York State Rifle & Pistol Association, Inc. v.
16   Bruen, 142 S. Ct. 2111 (2022), Standard Condition 4 violates the Second Amendment, as
17   there is no historical tradition of restricting firearm possession by individuals under
18   supervision as a result of pending criminal charges. Id. at 3–10. Magistrate Judge Gallo
19   disagreed, ultimately concluding that Defendant’s conduct placed him outside the scope of
20   the Second Amendment because he is not a law-abiding citizen, ECF No. 72 at 3–5, and in
21   the alternative, even if Defendant were considered a law-abiding citizen, there is an
22   historical tradition of restricting firearm possession by individuals under supervision
23   because of pending criminal charges, id. at 5–6. Namely, surety statutes from the mid-19th
24   century required people who were “reasonably likely to ‘breach the peace’” to post a bond
25   before they were allowed to publicly carry a firearm. Id. Defendant has appealed that
26   decision, arguing that the protections of the Second Amendment are not limited to law-
27   abiding citizens, and that surety statutes do not justify Standard Condition 4. See generally
28   Mot.

                                                   2
                                                                                     21-CR-3101 JLS
       Case 3:21-cr-03101-JLS Document 81 Filed 12/07/22 PageID.434 Page 3 of 6



 1                                         DISCUSSION
 2         The Bail Reform Act of 1984, 18 U.S.C. §3141 et seq., “authorized judicial officers
 3   to release pretrial detainees subject to conditions determined to be reasonably necessary to
 4   assure the defendant’s future appearances or the safety of individuals or the community.”
 5   United States v. Slye, No. 1:22-MJ-144, 2022 WL 9728732, at *3 (W.D. Pa. Oct. 6, 2022).
 6   One such condition is the prohibition on the possession of a “firearm, destructive device,
 7   or other dangerous weapon.” 18 U.S.C. § 3142(c)(B)(viii). Standard Condition 4 is
 8   authorized by this statute. The condition is not mandatory and may only be imposed “after
 9   an individualized consideration of that defendant’s circumstances.” United States v. Perez-
10   Garcia, No. 3:22-CR-01581-GPC, 2022 WL 4351967, at *4 (S.D. Cal. Sept. 18, 2022).
11         The Court finds that Standard Condition 4 and the statute authorizing its imposition,
12   18 U.S.C. § 3142(c)(B)(viii), do not violate the Second Amendment. First, Standard
13   Condition 4 regulates conduct falling outside the scope of the Second Amendment. In
14   District of Columbia v. Heller, 554 U.S. 570, 573–627 (2008), McDonald v. Chicago, 561
15   U.S. 742, 767–778 (2010), and Bruen, 142 S. Ct. at 2122, 2134–56, the Supreme Court
16   recognized that the Second and Fourteenth Amendments protect the right of responsible,
17   law-abiding citizens to possess a firearm inside and outside the home for self-defense and
18   other lawful purposes. By definition, Defendant falls outside the scope of these protections
19   as he has been charged with unlawful possession of firearms based on a finding of probable
20   cause. See generally ECF No. 1; see also Perez-Garcia, 2022 WL 4351967, at *6 (“As a
21   person who has been charged with a crime based on a finding of probable cause,
22   [defendant] would not be considered a ‘law-abiding’ or responsible citizen, so he is outside
23   the plain text of the Second Amendment.”). Defendant argues that he must be treated as a
24   law-abiding citizen, as he has not yet been convicted of a crime and is entitled to a
25   presumption of innocence. See Mot. at 7. A presumption of innocence, however, does not
26   deprive the Government of the ability to place significant, but temporary, restrictions on
27   an accused’s constitutional rights in order to further its interest in community safety.
28   Perez-Garcia, 2022 WL 4351967, at *6 (collecting cases supporting the proposition that

                                                  3
                                                                                    21-CR-3101 JLS
       Case 3:21-cr-03101-JLS Document 81 Filed 12/07/22 PageID.435 Page 4 of 6



 1   “[p]ersons with criminal charges pending are routinely subject to significant restrictions on
 2   their constitutional rights once probable cause has been shown”); cf. United States v.
 3   Salerno, 481 U.S. 739, 748 (1987) (“We have repeatedly held that the Government’s
 4   regulatory interest in community safety can, in appropriate circumstances, outweigh an
 5   individual’s liberty interest.”). Standard Condition 4 is one such restriction.
 6         Second, even if the Court were to categorize Defendant as a law-abiding citizen,
 7   Standard Condition 4 is consistent with this country’s historical tradition of firearm
 8   regulation. In Bruen, the Supreme Court held that when the Second Amendment’s plain
 9   text covers an individual’s conduct, the Constitution presumptively protects that conduct.
10   See 142 S. Ct. at 2126. To justify the regulation, the Government must demonstrate that
11   the regulation is consistent with this Nation’s historical tradition of firearm regulation. Id.
12   The Supreme Court made clear, however, that the government need only identify “a well-
13   established and representative historical analogue, not a historical twin.” Id. at 2133. So
14   long as the historical analogue regulated a law-abiding citizen’s right to armed self-defense
15   in a comparable manner and for comparable purposes, it will not run afoul of the Second
16   Amendment. See id. In other words, Courts should look to “how and why the regulations
17   burden a law-abiding citizen’s right to armed self-defense.” Id.
18         As noted by the Supreme Court in Bruen, in the mid-19th century, many jurisdictions
19   began adopting surety statutes that required certain individuals who were “reasonably
20   likely to ‘breach the peace’” to post bond before carrying weapons in public. Id. at 2148–
21   2150. Thus, surety statutes and Standard Condition 4 serve the same purpose: public
22   safety. Neither prohibition is meant as a form of punishment. See id. at 2149 (“[S]urety
23   laws were ‘intended merely for prevention’ and were ‘not meant as any degree of
24   punishment.’” (quoting 4 W. Blackstone, Commentaries on the Laws of England 249
25   (1769))); Salerno, 481 U.S. at 747 (1987) (“The Legislative History of the Bail Reform
26   Act clearly indicates that Congress did not formulate the pretrial detention provisions as
27   punishment for dangerous individuals.”). Moreover, they further this purpose in the same
28   manner: temporarily burdening the Second Amendment rights of individuals reasonably

                                                    4
                                                                                       21-CR-3101 JLS
       Case 3:21-cr-03101-JLS Document 81 Filed 12/07/22 PageID.436 Page 5 of 6



 1   likely to breach the peace. Accordingly, Standard Condition 4 is consistent with our
 2   historical tradition of firearms restrictions.
 3         The Court acknowledges that surety statutes were not enacted until several decades
 4   after the adoption of the Second Amendment and thus “do not provide as much insight into
 5   [the Second Amendment’s] original meaning as earlier sources.” See Heller, 554 U.S. at
 6   614 (2008). Earlier American history, however, further confirms the Governments ability
 7   to place temporary restrictions on the Second Amendment rights of individuals under
 8   supervision as a result of pending criminal charges. As the United States District Court for
 9   the Western District of Pennsylvania recently noted:
10                  [P]retrial detention and its attendant restrictions on constitutional
                    rights have existed since the early days of the
11
                    Republic. . . . Inherent in this severe restriction of liberty is the
12                  temporary abridgement of numerous core constitutional rights
                    including, but not limited to, freedom of speech (to the degree
13
                    that such speech could undermine order and security in the
14                  prison), freedom of association, reasonable expectations of
                    privacy, and, apropos to the instant case, the right to bear arms.
15
                    It would be illogical to conclude that the Court has the authority
16                  to set conditions temporarily depriving an accused of all of the
                    aforementioned constitutional protections by ordering his
17
                    detention but lacks the authority to impose far less severe
18                  restrictions, such as ordering his release on bond with a firearms
                    restriction.
19
20   United States v. Slye, No. 1:22-MJ-144, 2022 WL 9728732, at *2 (W.D. Pa. Oct. 6, 2022).
21   The Supreme Court in United States v. Salerno confirmed this longstanding history by
22   finding that pretrial detention on the basis of future dangerousness is constitutional. 481
23   U.S. at 755.
24         Defendant argues that “the mere existence of pretrial detention cannot be used to
25   justify stripping a defendant of his rights altogether.” Reply at 3. This hyperbole misses
26   the point. Under Bruen, the Government bears the burden of demonstrating an historical
27   tradition of firearms prohibitions analogous to the challenged regulation. The Court finds
28   that the Government has met this burden by highlighting this Nation’s historical tradition

                                                      5
                                                                                            21-CR-3101 JLS
       Case 3:21-cr-03101-JLS Document 81 Filed 12/07/22 PageID.437 Page 6 of 6



 1   of pretrial detention (and its attendant restrictions on an individual’s Second Amendment
 2   rights) and surety statutes. Defendant also goes to great lengths to demonstrate that the
 3   imposition of Standard Condition 4 was not based on an individualized assessment of
 4   Defendant’s circumstances. Reply at 3–5. Several facts, however, demonstrate that
 5   Standard Condition 4 is tailored to Defendant’s circumstances. Defendant is facing seven
 6   counts of firearms violations, ECF No. 53; Defendant has been arrested on firearms-related
 7   charges on three occasions, ECF No. 1 at 3; and Magistrate Judge Gallo personally
 8   amended the Pretrial Release Order to ensure that Defendant could not possess gun parts,
 9   ECF No. 12, presumably in light of Defendant’s post-Miranda statement that he
10   manufactured several of the seized firearms, ECF No. 1 at 3–4. Moreover, as other courts
11   have recognized, the “condition prohibiting possession of firearms is recognized as
12   necessary and appropriate in many cases for the protection of persons, including Pretrial
13   Services Officers responsible for supervising pretrial releasees.” Slye, 2022 WL 9728732,
14   at *3. There is no reason to believe that is not also the case here.
15                                         CONCLUSION
16         As Justice Kavanaugh noted in his concurring opinion in Bruen, the Second
17   Amendment, properly interpreted, allows a variety of gun regulations. Bruen, 142 S. Ct.
18   at 2162 (Kavanaugh, J., concurring). This Court finds that when properly interpreted, the
19   Second Amendment permits the restriction of firearm possession by individuals under
20   supervision as a result of pending criminal charges. Accordingly, the Court AFFIRMS
21   Magistrate Judge Gallo’s Order.
22         IT IS FURTHER ORDERED that the Motion Hearing re: Defendant’s appeal of the
23   Magistrate Judge decision set for December 9, 2023 is VACATED.
24         IT IS SO ORDERED.
25   Dated: December 7, 2022
26
27
28

                                                   6
                                                                                  21-CR-3101 JLS
